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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

Stacy Creasy, on behalf of herself and       ) Civil Action No.: 2:20-cv-01199-MLCF-KWR
others similarly situated,                   )
                                             )
               Plaintiff,                    ) Judge: Martin L.C. Feldman
                                             )
v.                                           ) Magistrate Judge: Karen Wells Roby
                                             )
Charter Communications, Inc.                 )
dba Spectrum,                                )
                                             )
            Defendant.                       )
_______________________________              )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       1.      On April 15, 2020, Stacy Creasy (“Plaintiff”) filed her original class action

complaint against Charter Communications, Inc., dba Spectrum (“Defendant”). See ECF No. 1.

       2.      On July 31, 2020, Plaintiff—together with a now-dismissed co-plaintiff1—filed her

amended class action complaint against Defendant. See ECF No. 24.

       3.      On September 28, 2020, this Court dismissed for lack of subject matter jurisdiction

all of Plaintiff’s claims except for one based on a single text message she received from “Spectrum

Mobile” after the Supreme Court issued its decision in Barr v. Am. Ass’n of Political Consultants,

140 S. Ct. 2335 (2020). See ECF No. 50.

       4.      Defendant has not, to date, filed “either an answer or a motion for summary

judgment.” See Fed. R. Civ. Pro. 41(a)(1)(A)(i).

       5.      Given as much, Plaintiff notifies this Court that she now dismisses without

prejudice, pursuant to Rule 41(a)(1)(A)(i), her single claim not previously dismissed pursuant to



1
       On December 23, 2020, this Court dismissed Plaintiff’s co-plaintiff’s claims without
prejudice. See ECF No. 58.
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Rule 12(b)(1), which stems from a single text message Plaintiff received from “Spectrum Mobile”

on July 11, 2020.

       Date: April 22, 2021                                /s/ Aaron D. Radbil
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                               CERTIFICATE OF SERVICE

       I certify that on April 22, 2021, the foregoing document was filed with the Court using

CM/ECF, which will send notification of such to all counsel of record.

                                            /s/ Aaron D. Radbil
                                            Aaron D. Radbil
